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                                              [Dkt. No. 68]

                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY
                              Camden Vicinage

______________________________
                              :
UNITED STATES OF AMERICA,     :
                              :
          v.                  : Crim. No. 12-789 (RMB)
                              :
IBN MUHAMMAD                  : OPINION
______________________________:


     This matter comes before the Court upon Defendant Ibn

Muhammad’s Motion to Reduce Sentence pursuant to the First Step

Act, 18 U.S.C. § 3582(c)(1)(A)(i).       Defendant Muhammad is

currently serving his sentence at FCI Fairton Prison Camp in

Fairton, New Jersey.     The Court having considered the parties’

submissions, and for the reasons discussed below, denies the

Motion.

     On December 3, 2012, Muhammad pled guilty to a two-count

Information, charging him with bank fraud and mail fraud.

Muhammad admitted to being the leader of a scheme that

victimized more than fifty people, and causing hundreds of

thousands of dollars in losses.

     In July 2013, the Honorable Jerome B. Simandle imposed a

within Guideline range of 135 months.        In June 2016, the

Defendant pled guilty to conspiring to possess a firearm as a

felon in violation of 18 U.S.C. § 371.        On January 10, 2017,

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Judge Simandle sentenced Defendant to a statutory maximum of 60

months imprisonment and ordered the sentence to run

consecutively to the 135 month sentence.        Defendant appealed his

sentence, which the Third Circuit Court of Appeals affirmed.

Defendant is presently projected to be released from BOP custody

on August 20, 2026.    He has served a little over half of his

sentence.

     In support of his Motion, Defendant admits that “he has no

medical issues, and is at lower risk of “contracting” COVID-19.”

Docket No. 68, at 21.     (He also argues that his sentence was an

unfair one, a position that was rejected as “frivolous” by the

Third Circuit, see United States v. Muhammad, No. 13-3271, slip.

op. at 8-9 (3rd Cir. Sept. 24, 2014).

     The Government has introduced evidence of the measures that

the Bureau of Prisons has taken to prevent the spread of the

coronavirus.   It is set forth at length in the Government’s

Response.    See Govt. Opp., Dkt. No. 70, at 4.

DISCUSSION
     Although a district court generally has limited authority

to modify a federally-imposed sentence once it commences, Dillon

v. United States, 560 U.S. 817, 825 (2010), the First Step Act

(“FSA”), 18 U.S.C. § 3582(c)(1)(A)(i), permits district courts

to grant compassionate release where there exists “extraordinary




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and compelling reasons” to reduce a sentence.         The statute

provides, in relevant part, that:

     (A) the court, upon motion of the Director of the
     Bureau of Prisons, or upon motion of the defendant
     after the defendant has fully exhausted all
     administrative rights to appeal a failure of the
     Bureau of Prisons to bring a motion on the defendant’s
     behalf or the lapse of 30 days from the receipt of
     such a request by the warden of the defendant’s
     facility, whichever is earlier, may reduce the term of
     imprisonment (and may impose a term of probation or
     supervised release with or without conditions that
     does not exceed the unserved portion of the original
     term of imprisonment), after considering the factors
     set forth in section 3553(a) to the extent that they
     are applicable, if it finds that--
     (i) extraordinary and compelling reasons warrant such
     a reduction. . .
     18 U.S.C. § 3582(c) (emphasis added). As such, under
     the FSA, a defendant seeking a reduction in his term
     of imprisonment bears the burden of establishing both
     that he has satisfied (1) the procedural prerequisites
     for judicial review, and (2) that compelling and
     extraordinary reasons exist to justify compassionate
     release.
     This Court may only grant a motion for reduction of

sentence under the FSA if it was filed “after the defendant has

fully exhausted all administrative rights to appeal a failure of

the Bureau of Prisons to bring a motion on the defendant’s

behalf” or after 30 days have passed “from the receipt of such a

request by the warden of the defendant’s facility, whichever is

earlier.” 18 U.S.C. § 3582(c)(1)(A); see also United States v.

Raia, No. 20-1033, 2020 WL 1647922, at *2 (3d Cir. Apr. 2,

2020), as revised (Apr. 8, 2020).        This is a statutory

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requirement that this Court may not waive.         See, e.g., Raia,

2020 WL 1647922 at *2; Massieu v. Reno, 91 F.3d 416, 419 (3d

Cir. 1996); Ross v. Blake, 136 S. Ct. 1850 (2016).

     The parties argue that Defendant has exhausted his

administrative remedies.     United States v. Raia, Civ. No. 20-

1033, 2020 WL 1647922, at *2 (3d Cir. Apr. 2, 2020).

     Under 18 U.S.C. § 3582(c)(1)(A), this Court may, in certain

circumstances, once the exhaustion requirement has been

satisfied as it has here, grant a defendant’s motion to reduce

his term of imprisonment “after considering the factors set

forth in [18 U.S.C. § 3553(a)],” if the Court finds that (i)

“extraordinary and compelling reasons warrant such a reduction,”

and (ii) “such a reduction is consistent with applicable policy

statements issued by the Sentencing Commission.” 18 U.S.C. §

3582(c)(1)(A)(i).

     The Defendant bears the burden to establish that he is

eligible for a sentence reduction.       United States v. Jones, 836

F.3d 896, 899 (8th Cir. 2016); United States v. Green, 764 F.3d

1352, 1356 (11th Cir. 2014).

     The Sentencing Commission has issued a policy statement

addressing reduction of sentences under § 3582(c)(1)(A). As

relevant here, the policy statement provides that a court may

reduce the term of imprisonment after considering the § 3553(a)


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factors if the Court finds that (i) “extraordinary and

compelling reasons warrant the reduction;” (ii) “the defendant

is not a danger to the safety of any other person or to the

community, as provided in 18 U.S.C. § 3142(g);” and (iii) “the

reduction is consistent with this policy statement.” U.S.S.G. §

1B1.13.1

        The policy statement includes an application note that

specifies the types of medical conditions that qualify as

“extraordinary and compelling reasons.” First, that standard is

met if the defendant is “suffering from a terminal illness,”

such as “metastatic solid-tumor cancer, amyotrophic lateral

sclerosis (ALS), end-stage organ disease, [or] advanced

dementia.” U.S.S.G. § 1B1.13, cmt. n.1(A)(i).            Second, the

standard is met if the defendant is:

        (I)   suffering from a serious physical or medical condition,




1 The policy statement refers only to motions filed by the BOP
Director. That is because the policy statement was last amended
on November 1, 2018, and until the enactment of the First Step
Act on December 21, 2018, defendants were not entitled to file
motions under § 3582(c). See First Step Act of 2018, Pub. L.
No. 115-391, § 603(b), 132 Stat. 5194, 5239; cf.18 U.S.C. §
3582(c) (2012). In light of the statutory command that any
sentence reduction be “consistent with applicable policy
statements issued by the Sentencing Commission,” 18 U.S.C. §
3582(c)(1)(A)(ii), and the lack of any plausible reason to treat
motions filed by defendants differently from motions filed by
BOP, the policy statement applies to motions filed by defendants
as well.
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    (II) suffering from a serious functional or cognitive
         impairment, or


    (III) experiencing deteriorating physical or mental
          health because of the aging process,

           that substantially diminishes the ability of the
           defendant to provide self-care within the
           environment of a correctional facility and from
           which he or she is not expected to recover.

Id. § 1B1.13, cmt. n.1(A)(ii).           The application note also sets

out other conditions and characteristics that qualify as

“extraordinary and compelling reasons” related to the

defendant’s age and family circumstances. Id. § 1B1.13, cmt.

n.1(B)-(C).   The note recognizes the possibility that BOP could

identify other grounds that amount to “extraordinary and

compelling reasons.” Id. § 1B1.13, cmt. n.1(D).

     Here, Defendant does not have any present medical issues,

but a generalized fear of contracting COVID-19.         Moreover,

Defendant has not established an “extraordinary and compelling

reason” to reduce his sentence, the Court finds that he has

failed to demonstrate that he merits release under the § 3553(a)

factors.   Under the applicable policy statement, this Court must

consider the § 3553(a) factors, as “applicable,” as part of its

analysis. See § 3582(c)(1)(A); United States v. Chambliss, 948

F.3d 691, 694 (5th Cir. 2020).

     A sentence reduction here would be inconsistent with the §

3553(a) factors. First, a reduction would fail to “reflect the

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seriousness of the offense,” “promote respect for the law,” and

“provide just punishment for the offense.” 18 U.S.C. § 3553(a).

Defendant engaged in serious crimes, one that left a trail of

victims, many who suffered devastating financial and emotional

losses.   Moreover, his conviction for a firearm possession

spanned the time period when he was on pretrial release for his

first federal conviction.

     The “history and characteristics of the defendant” and the

need to protect the public also counsel against any sentencing

reduction.   As discussed, the Defendant is no stranger to the

criminal justice system.     Defendant is a little over halfway

through his sentence.     His life of crime has resulted in

multiple felony convictions including for robbery, aggravated

assault, and distribution of narcotics.        The need to protect the

public is paramount here.

     Finally, the need for deterrence and the need to punish the

Defendant also weigh against reducing Defendant’s sentence.            He

has served a little over one-half of his sentence.           This would

be a drastic variance from a sentence that the Court found

appropriate.

     The Court does not take lightly Defendant’s fear of

contracting COVID-19.     It is a fear that permeates all of

society, both inside and outside of a prison.         Here, the BOP is



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taking measures to contain the spread of COVID-19,2 and Defendant

has not persuaded this Court that there is an extraordinary and

compelling reason to reduce his sentence or that he merits

release under the §3553(a) factors.

        The Motion is therefore DENIED.




                                     s/Renée Marie Bumb_________
                                     RENÉE MARIE BUMB
                                     United States District Judge
Dated: November 5, 2020




2 At present, there is one confirmed case of COVID-19 among
inmates and five confirmed cases of COVID-19 among staff at FCI
Fairton. See www.bop.gov/coronavirus (last visited November 5,
2020).
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